962 F.2d 6
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Paul Douglas CAUSEY, Plaintiff-Appellant,v.Edward W. MURRAY;  Lou Ann White;  Dan Larsen;  Julian Pugh;E. C. Morris, Defendants-Appellees.
    No. 92-6204.
    United States Court of Appeals,Fourth Circuit.
    Submitted:  May 4, 1992Decided:  May 21, 1992
    
      Appeal from the United States District Court for the Eastern District of Virginia, at Norfolk.  J. Calvitt Clarke, Jr., Senior District Judge.  (CA-91-404-N)
      Paul Douglas Causey, Appellant Pro Se.
      Robert Harkness Herring, Jr., Assistant Attorney General, Richmond, Virginia, for Appellees.
      E.D.Va.
      AFFIRMED.
      Before HALL, WILKINS, and WILLIAMS, Circuit Judges.
      OPINION
      PER CURIAM:
    
    
      1
      Paul Douglas Causey appeals from the district court's order denying relief under 42 U.S.C. § 1983 (1988).  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  Causey v. Murray, No. CA-91-404-N (E.D. Va.  Feb. 12, 1992).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    AFFIRMED
    